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June 10, 2025

VIA ECF

Hon. Ona T. Wang
Daniel Patrick Moynihan United States Courthouse
500 Pearl St.
New York, NY 10007-1312

Re:    In re: OpenAI, Inc., Copyright Infringement Litigation, 1:25-md-03143-SHS-OTW; this
       document relates to The Center for Investigative Reporting, Inc. v. OpenAI, Inc. et al.,
       Case No. 1:24-cv-04872-SHS-OTW

Dear Judge Wang:

        OpenAI respectfully requests a pre-motion conference to address The Center for
Investigative Reporting (“CIR”)’s continued refusal to add custodians that would address
substantial deficiencies in CIR’s production of highly relevant categories of documents—
documents that CIR has already admitted would be uniquely in the possession of OpenAI’s
proposed custodians.

         As background, OpenAI filed a motion on April 1 seeking an order compelling CIR to
supplement its three individual custodians1 with five additional custodians. ECF 250, 251. Each
proposed custodian had been identified by CIR’s custodial Rule 30(b)(6) designee, Monika
Bauerlein (CIR’s CEO), as possessing relevant documents not in the possession of CIR’s current
custodians. See ECF 250 at 2–3. In opposing OpenAI’s motion, CIR repeatedly insisted that
OpenAI first review CIR’s production for any deficiencies. Having now done so, OpenAI
identified substantial deficiencies in the production of precisely the types of documents Bauerlein
testified would be uniquely in the possession of OpenAI’s proposed custodians. While CIR has
also insisted that it will manually collect missing documents, that cannot serve as a substitute for
the identification of custodians and search terms ordered by the ESI Order, particularly in the face
of broad production deficiencies. See Thomas v. City of New York, 336 F.R.D. 1, 5 (E.D.N.Y.
2020) (“self-collection [] is strongly disfavored,” particularly absent “steps to determine whether
significant gaps exist”) (citation omitted).

       During the May 27 conference, the Court ordered further conferral regarding CIR’s
production deficiencies. Ex. A at 168:2-9. OpenAI subsequently sent CIR a detailed description of
those deficiencies, along with explanations of why the missing documents would be in the
possession of OpenAI’s proposed CIR custodians. Ex. B at 2–4. The parties remained at an impasse
following their meet and confer by videoconference on June 5, and OpenAI renews its motion for
the addition of the custodians below:

     Robert Wise (Director of Online Technology): CIR agreed to produce documents and
communications relating to its use of exclusion protocols on its websites (RFP 34); documents

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 Those custodians were Monika Bauerlein, CEO; Madeleine Buckingham, CFO; and Khary Brown, VP of Media
Sales and Business Development.

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relating to the addition of copyright management infonnation ("CMI") to a1ticles on its websites,
such as documents about website build (RFP 101); historical versions of its robots.bet files (RFP
107); and documents and communications concerning modifications to its robots.bet files (RFP
108). ECF 251-6 at 8; ECF 251 -7 at 2; ECF 251-1 at 4. These documents, none of which CIR
claims are iITelevant, address, inter alia, whether CIR has conveyed an implied license by allowing
the scraping of its content and whether CIR has properly included CMI with its content. To date,
however, the only responsive documents from CIR are its cmTent robots.bet files and a few isolated
documents relating to its website build. It is inconceivable that CIR has no additional documents
relating to its use of CMI, for example, when at least one of its publications, Reveal chan ed its
CMI ractices in 2018. See Ex.Cat 6-7. Further, Bauerlein testified that Wise is
                                              and confmned that

                                                    s as t e mdividual
                                                      Id. at 169:12-171:16. Wise therefore likely
possesses relevant documents not in the possession of cunent custodians.

        Marla Jones-Newman (VP for People and Culture): CIR agreed to produce documents
responsive to RFP 12 showing "[CIR] 's ownership of the asse1ted works," including "employment
and work-for-hiI·e agreements"- the prerequisite for CIR's copyright infringement claim. ECF
250 at 3. CIR has asse1ted at least 70,000-80,000 works, Am. Compl. Exs. 2-4, associated with at
least 500 distinct authors based on Open.Al's analysis of CIR 's production. However, CIR has
produced less than 200 employment or freelance agreements, many of which are for individuals
not associated with the asse1ted works. And while CIR's asse1ted works go as far back as 1978,
Am. Compl. ,r 36, the produced agreements only date back to 2003. Thus, while CIR insists that it
is manually collecting these agreements, that effo1t has clearly been insufficient in li t of its
substantial number of authors. Jones-Newman who Bauerlein confmned has the

          , likely possesses relevant documents not in the possession of cmTent custodians. ECF
250-5 at 179:3-8.

         Emily Harris (Director of Finance): CIR agreed to produce documents and
con espondence relating to CIR 's analyses of "trends in readership or online subscriptions" (RFP
31), "the fmancial value of content" (RFP 32), and "the perfonnance of content" (RFP 33), all of
which go to the alleged haim , damages, and factor four of the fair use defense. ECF 250 at 3. While
CIR has produced high-level analyses relating to advertising revenue and forecasts, its production
is lai·gely missing data underlying those analyses, analyses of the fmancial value of the content, or
analyses of other types of revenue streams, such as licensing revenue. Moreover, less than 20% of
the documents CIR has produced relating to fmancial analyses ai·e for Reveal, including almost no
substantive documents describing, for example, how Reveal an ived at projected numbers or the
specific factors iinpacting Reveal' s revenue. While CIR insists that Bauerlein and Buckingham
receive the fmal anal ses and                                          Bauerlein testified that it was


160:12-161:22, 162:1-13. Han is therefore likely possesses relevant documents not in the
possession of cunent custodians.


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        Ruth Murai (Research Director): CIR agreed to produce documents responsive to RFPs
relating to the originality of CIR's works (RFP 7), the use of third-party texts and sources in its
works (RFPs 35- 36), and plagiarism (RFP 57). ECF 251-6 at 2, 8; ECF 251-1 at 18. CIR also
agreed to produce "documents regarding [CIR' s] use of the Defendants' Gen AI tools in repo1i ing
[] of content." ECF 250 at 3. These RFPs seek documents beyond fonnal internal or external
complaints of plagiarism, which CIR has suggested Bauerlein would receive; they also seek day-
to-day determinations and conversations around what constitutes acceptable use of third-pa1iy text
and AI, which are highly relevant to ownership, CIR's own reliance on fair use, and OpenAI 's
unclean hands defense. Thus far, CIR has produced no responsive documents apaii from its
employee handbooks. Given that the majority of CIR 's asserted works incorporate third-party
material,2 it is highly unlikely that CIR possesses no communications directed to the use of third-
paiiy text during the editing process for specific aiiicles. And while CIR suggests that any
plagiai·ism allegations would be raised with Bauerlein, CIR has produced no communications
relating to plagiarism concerns for the 70,000-80,000 aii icles it has asse1ied. The absence of any
such collllllunications indicates that CIR's cmTent collection methods are insufficient. Bauerlein
also made cleai· that it is Murai not Bauerlein who


cmTent custodians.

         Michael Mechanic (Senior Editor): CIR agreed to produce documents relating to the use
of third-paiiy texts and sources (RFPs 35- 36), and documents and communications relating to
requests and licenses to third paiiies (RFPs 51-52) and content-sharing licensing programs (RFP
72). ECF 251 -6 at 8, 15; ECF251-1 at 18. CIR does not dispute that all such documents ai·e relevant
to fair use, OpenAI' s unclean hands defense, and the value of CIR ' s works. Despite CIR' s routine
use of third-party material in its asserted works, it has produced documents describing only a
handful of instances where CIR made a request for such use. CIR has also produced no documents
relating to content-sharing programs with third paities, aside from a few isolated emails and
po1iions of agreements relating to two (out of the fomieen) paiiners of its Climate Desk syndication
project. While CIR claims that it is manually collecting "publication agreements," Ex. A at 166:8-
10, manual collection cannot conceivably cover all responsive documents and communications,
which (as CIR does not dispute) are relevant to the licensing value of CIR's works. Fmi her
Bauerlein testified that Mechanic rather than herself or other cmTent custodians, would -
                                                                               . ECF 250-5 at 137:22-
142:22. Mechanic therefore likely possesses relevant documents not in the possession of cmTent
custodians.

        For the reasons above, the Comi should compel CIR to add the aforementioned custodians.




2 See, e.g. , Kevin Dmm, Is America Just an Oversized Ireland? (May 4, 2010), https://www.mothe1jones.com/kevin-

dmm/2010/05/america-iust-oversized-ireland/ (containing a book review excerpt) .

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                                      Respectfully,

KEKER, VAN NEST &                     LATHAM & WATKINS                      MORRISON &
PETERS LLP*                           LLP                                   FOERSTER LLP*

/s/ Andrew S. Bruns                   /s/ Herman H. Yue                     /s/ Rose S. Lee
Andrew S. Bruns                       Herman H. Yue                         Rose S. Lee


cc: All Counsel of Record Line (via ECF)




*
 All parties whose electronic signatures are included herein have consented to the filing of this
document.


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